        Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 1 of 23




                      IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF GEORGIA
                               VALDOSTA DIVISION


BRIAN EDWARDS,                              )
                                            )
              Plaintiff,                    )
                                            )
v.                                          )       CASE NO. 7:20-CV-00003-WLS
                                            )
TIFT REGIONAL HEALTH                        )
SYSTEM, INC.,                               )
                                            )
              Defendant.                    )


                  PLAINTIFF’S RESPONSE BRIEF TO DEFENDANT’S
                       MOTION FOR SUMMARY JUDGMENT

       Brian Edwards (“Edwards”) had a short run of employment at Tift Regional. Shortly after

he started, the contractor helping to direct the department made racist comments to him. That

same day he heard them; Edwards reported the racist comments to Human Resources. Within a

few days of his report, Tift Regional fired Edwards. As a result of these actions, Tift Regional

violated Title VII and Section 1981. Because Edwards has presented evidence from which a jury

could find such violations occurred, Tift Regional’s motion should be denied with regard to

Edwards’s hostile work environment and retaliation claims.

I.     FACTUAL BACKGROUND

       Prior to 2018, the Food and Nutrition Services (“FANS”) department of Tift Regional had

been plagued by high turnover and Tift Regional wanted someone with expertise to bring the

department out of turmoil. (Fullum Dep., p. 26). The department was short staffed and often

placed people into positions before they were properly trained. (Laub Dep., pp. 37-38; Harper

Dep., pp. 24, 46-47). Tardies and absences among employees were routine. (Fullum Dep., pp.



                                                1
          Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 2 of 23




52-53). Beginning in June 2018, Tift Regional contracted with Soriant, Inc. to staff an Interim

Director within its Food and Nutrition Services (“FANS”) department. (Laub Dep., p. 17). That

interim director was a white man named Tony Laub (“Laub”). Laub was a very hands-on, in the

trenches Interim Director who did not just sit in his office and do administrative work. (Laub Dep.,

pp. 50-51; Harper Dep., pp. 16-17; Fullum Dep., pp. 68-69). He regularly interacted with the

FANS food service aides and frontline supervisors. (Laub Dep., pp. 50-51; Harper Dep., pp. 16-

17; Fullum Dep., pp. 68-69)

         In October 2018, Tift Regional hired Kelly Fullum to become the permanent Director of

FANS. (Fullum Dep., p. 6). From October 2018 through January 2019, while Fullum was in a

period of observation, she worked in conjunction with Laub to direct the department. (Fullum

Dep., p. 36; Laub Dep., pp. 20, 52). Even after the observation period ended in February 2019,

Fullum would discuss employee performance with Laub. (Fullum Dep., pp. 19-21, 36). The

Human Resources Generalist assigned to FANS noticed that Laub and Fullum were very much

partners in how they handled employee relations matters. (Thurston Dep., pp. 178-179; Fullum

Dep., p. 36).

         In February 2019, Brian Edwards worked at Tift Regional as a food service aide for less

than three weeks. (Thurston Dep., pp. 20, 131). On February 25, 2019, Laub said to Edwards

“you have to work harder than a slave and outwork the Mexicans.” (Edwards Dep., pp. 40-42).

As a black man with Hispanic relatives, Edwards took offense at these comments. (Edwards Dep.,

pp. 24, 46). A bit later that same day, Edwards went to see Jasmine Thurston (“Thurston”), the

Human Resources generalist assigned to FANS, to report the racially discriminatory comments

that Laub had made.1 (Edwards Dep., pp. 42-43; Thurston Dep., pp. 52-55).



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    Thurston did not remember Edwards mentioning the slave comment but testified that she had
                                                 2
         Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 3 of 23




        Edwards was not the first FANS employee to complain about Laub. By the time Edwards

arrived at Tift Regional in February 2019, Thurston had fielded multiple complaints about Laub.

(Thurston Dep., pp. 31-32, 34-37, 38-45). Those complaints ranged from general complaints about

Laub that he was a hard-nosed manager to more specific complaints that he made racist comments.

(Thurston Dep., pp. 34-37). Shockingly, on one occasion in the summer of 2018, fifteen black

FANS employees came to Thurston’s office all at once to complain about Laub. (Thurston Dep.,

pp. 38-45). She fielded their concerns in the conference room, and not in her office, so she could

accommodate that number of employees. (Thurston Dep., pp. 38-45). Some of the complaints in

that session were about Laub’s racist comments and attitudes. (Thurston Dep., pp. 38-45).

Thurston then alerted her supervisor, Dr. Indera Rampal-Harrod, Vice President and Chief Human

Resources Officer, of the employees’ reports at that meeting. (Folsom, p. 10; Thurston Dep., pp.

43-45). Rampal-Harrod conducted an investigation and recommended remedial action be taken

against Laub including removing him from the premises, none of which was done. (Thurston

Dep., pp. 43-45). Thurston estimated that by the time Edwards arrived at Tift Regional, she had

fielded roughly ten complaints—both race related and race neutral--about Laub from employees,

only one of which was the fifteen-person conference room discussion. (Thurston Dep., pp. 104-

107).

        With that knowledge of prior complaints, Thurston set out to investigate Edwards’

complaint in late February 2019. On the same day Edwards made the report to Thurston, Thurston

began to reach out to witnesses Edwards identified. (Thurston Dep., p. 56, Ex. 4). She continued

to do so until February 27, 2019. (Thurston Dep., p. 56, Ex. 4). Because the witnesses claimed

that their work schedules did not allow for them to be interviewed, Thurston reached out to Kelly



heard that report from another black employee about Laub. (Thurston Dep., p. 55).
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        Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 4 of 23




Fullum, the Director of FANS. (Thurston Dep., p. 56, 162-163, Ex. 4). Thurston testified that she

did so on February 25, 26, or 27. (Thurston Dep., pp. 58, 60-61). At that time, Thurston relayed

to Fullum the racist comments Edwards had reported. (Thurston Dep., pp. 60-61, 152). Thurston

also reached out to her supervisor, Lori Folsom, revealing what she had heard from Edwards.

(Thurston Dep., p. 59).

       By March 1, 2019, within five days of Edwards’ report to Thurston, Fullum fired Edwards.

(Thurston Dep., pp. 154-156, Ex. 4). When Edwards pressed for an explanation, Fullum looked

up in the air and said “uhh, you don’t have a good work ethic.” (Edwards Dep., p. 52).    Irritated

by his firing, Folsom and Thurston confronted Fullum about Edwards’ termination. (Thurston

Dep., pp. 64-65, 152-153). When questioned about her motives, Fullum simply stated that

Edwards was “very vocal” and liked to “back talk.” (Thurston Dep., pp. 190-191, Ex. 4). She

also tried to elaborate that Edwards was resisting advice given to him by co-workers but then

admitted she had not seen any such exchange and the advice was not actually based on policy.

(Thurston Dep., pp. 64-66, Ex. 4).

II.    ARGUMENT AND CITATION TO AUTHORITY

       At summary judgment, “[t]he court may not weigh evidence to resolve factual disputes –

if a genuine issue of fact is found, summary judgment must be denied.” Hutcherson v. Progressive

Corp., 984 F.2d 1152, 1155 (11th Cir. 1993) (emphasis added). The Court “must draw all

reasonable inferences in favor of [Edwards].” Reeves v. Sanderson Plumbing Products, Inc., 530

U.S. 133, 150 (2000). The Court “should give credence to the evidence favoring [Edwards]” and

may only credit evidence supporting the Defendant “that is uncontradicted and unimpeached,”

and, even then, only “to the extent that that evidence comes from disinterested witnesses.” Id.




                                                4
          Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 5 of 23




         In employment discrimination and retaliation cases, “the plaintiff will always survive

summary judgment if he presents circumstantial evidence that creates a triable issue concerning

the employer's discriminatory [or retaliatory] intent.” Smith v. Lockheed-Martin Corp., 644 F.3d

1321, 1328 (11th Cir. 2011). “A plaintiff may raise a reasonable inference of the employer's

discriminatory [or retaliatory] intent through various forms of circumstantial evidence,” and “[a]

triable issue of fact exists if the record, viewed in a light most favorable to the plaintiff, presents a

convincing mosaic of circumstantial evidence that would allow a jury to infer intentional

discrimination [or retaliation] by the decisionmaker.” Id. (internal quotation and citation omitted).

         Alternatively, a plaintiff may survive summary judgment using the familiar McDonnell-

Douglas framework. There, the plaintiff will first adduce evidence which, taken as true, would

prove a prima facie case. This is followed by a burden shift to the defendant to articulate a

legitimate non-discriminatory reason for the adverse action.              Finally, the plaintiff must

demonstrate evidence showing the defendant’s reason to be pretextual. McDonnell Douglas Corp.

v. Green, 411 U.S. 792, 502-505 (1973). A plaintiff may demonstrate pretext either by showing

that a discriminatory reason more than likely motivated the employer, or by showing that the

proffered reason for the decision is not worthy of belief. Young v. General Foods Corp., 840 F.2d

825, 828 (11th Cir. 1998).       The former showing relies on evidence of the decision maker’s

discriminatory or retaliatory motive. The latter showing involves evidence of “weaknesses,

implausibilities, inconsistencies, incoherencies, or contradictions in the employer’s proffered

legitimate reasons for its action. Combs v. Plantation Patterns, 106 F.3d 1519, 1538 (11th Cir.

1997).




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         Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 6 of 23




       A.      Edwards’ Prima Facie Case of Retaliation2

       To establish a prima facie case of retaliation, the plaintiff must show that: (1) he engaged

in statutorily protected activity; (2) he suffered an adverse employment action; and (3) a causal

connection existed between the protected activity and the adverse employment action. Pennington

v. City of Huntsville, 261 F.3d 1262, 1266 (11th Cir. 2001). A plaintiff’s retaliation claim can

survive summary judgment even if the underlying discrimination claim does not. See Gupta v.

Florida Bd. of Regents, 212 F.3d 571, 586 (11th Cir. 2000) ("To recover for retaliation, the plaintiff

'need not prove the underlying claim of discrimination which led to her protest,' so long as she had

a reasonable good faith belief that the discrimination existed.").

        “Once a prima facie case has been demonstrated, the defendant must proffer a legitimate

nondiscriminatory (nonretaliatory) reason for the adverse employment action.” Id. If the employer

meets its burden, the burden shifts back to the employee to show the preferred reason is a pretext

for retaliation. Berman v. Orkin Exterminating Co., Inc., 160 F.3d 697, 702 (11th Cir. 1998). Tift

Regional incorrectly argues that Edwards cannot meet the first and third prongs.

               1.      Protected Activity

       Despite Defendant’s meritless contentions to the contrary, there is no legitimate question

that Edwards engaged in protected opposition conduct when he reported the racially hostile work

environment because he “communicate[d] [his] belief that discrimination is occurring to the

employer.” Demers v. Adams Homes of Northwest Florida, Inc., 321 Fed. Appx. 847, 852 (11th

Cir. 2009); see also, Rollins v. State of Fla. Dept. of Law Enforcement, 868 F.2d 397, 400 (11th

Cir. 1989) (anti-retaliation protections of Title VII and Section 1981 are “not limited to individuals




2
 Edwards agrees that summary judgment should be granted on his disparate discipline claim based
on race.
                                                  6
         Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 7 of 23




who have filed formal complaints, but extend [] as to those who . . . informally voice complaints

to their superiors or who use their employers’ internal grievance procedures”). Despite the

straightforward facts presented, Tift Regional argues that Edwards could not have an objectively

reasonable belief that the statements “you need to outwork a Mexican and work harder than a

slave” amounted to race discrimination. That is a frivolous argument. A jury could most certainly

find that telling a black man to work as hard as a slave is offensive, much more so than if someone

said that to a white person. Additionally, challenging anyone to outwork a Mexican is equally

racist and absurd, and especially offensive to Edwards because has Hispanic relatives, a fact which

Tift omitted in its brief. (Edwards Dep., p. 46). Moreover, the CHRO testified that Laub’s

comments could offend a reasonable person. (Folsom Dep., pp. 61-62). Finally, Thurston, a

trained Human Resources professional, plainly understood Edwards had made a race

discrimination complaint since she immediately began an investigation of the race concerns

regarding Laub and alerted multiple supervisors of such.

               2.       Causal Connection

       To satisfy the causation element, the plaintiff need only show that the protected activity

and the adverse action were not “wholly unrelated.” Farley v. Nationwide Mut. Ins. Co., 197 F.3d

1322, 1337 (11th Cir. 1999). Since Edwards engaged in protected speech to Thurston and was

fired at most within five days of that report, causation is established.

       Unfortunately for the Court, Tift Regional conflates the pretext analysis with the causation

prong. The citation to Gogel v. Kia Motors Manufacturing of Georgia, Inc. for the proposition

that temporal proximity alone cannot establish pretext is misplaced in the prima facie case

analysis. Contrary to Tift Regional’s argument, temporal proximity alone is sufficient to establish

causation to satisfy the prima facie case. See Thomas v. Alabama Home Const., 271 Fed. Appx.



                                                  7
         Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 8 of 23




865, 868 (11th Cir. 2008) (finding that decision to terminate employee “within weeks” of

employee’s internal complaint supported jury’s finding of retaliation and noting that decision

maker’s awareness of protected conduct at time of adverse decision generally satisfies the

causation element); Entrekin v. City of Panama City, 376 Fed. Appx. 987, 997 (causation

established where employer decided to terminate plaintiff two weeks after plaintiff filed Title VII

complaint); Donnellon v. Fruehauf Corp., 794 F.2d 598, 601 (11th Cir. 1986) (“short period of

time of” one month between complaint and adverse decision, alone, established causation);

Thomas v. Cooper Lighting, Inc., 506 F.3d 1361, 1364 (11th Cir. 2007) (two and half month time

frame established causation).

       In an effort to distract from the very clear chain of events, Tift Regional cites to Henderson

v. FedEx Express, 442 Fed. Appx. 502, 507 (11th Cir. 2011), an unpublished opinion, for the

proposition that intervening acts of misconduct can break any causal link between the protected

conduct and the adverse employment action. However, the court in Henderson mentioned that

reason only as a fallback position after it ruled that causation was not established for other reasons.

The main reason causation was not established in that case was that the decisionmaker did not

have knowledge of the opposition conduct. Henderson, 442 Fed. Appx. at 507. There is no such

issue in this case as the evidence clearly establishes that Thurston told Fullum about Edwards’

report of Laub’s racist comments within a day or two of his report and before his termination.

(Thurston Dep., pp. 56, 58, 60-61, 152, 162-163, Ex. 4). Moreover, the termination documents

created by Fullum were dated two days after Edwards complained and after or on the same day

Thurston told Fullum. (Fullum Dep., Exs. 11, 12; Thurston Dep., pp. 58, 60-61, 152).

       Secondly, as for the idea that intervening acts can break causal links, that again conflates

prima facie causation with the pretext analysis. The "Henderson approach appears to go well



                                                   8
        Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 9 of 23




beyond the purpose of the prima facie case." El-Saba v. Univ. of S. Ala., 2015 U.S. Dist. Lexis

137286 *56-57 (S.D. Ala. 2015). “‘Intervening acts’” are more appropriately analyzed after

a McDonnell Douglas prima facie case is shown, when the employer may then articulate

legitimate, non-discriminatory/retaliatory reasons for the adverse employment action. In pleading

his Title VII claims, [Edwards] is not even required to allege a ‘classic’ McDonnell Douglas

prima facie case, much less also rebut possible nondiscriminatory reasons as pretextual.” El-

Saba, 2015 U.S. Dist. Lexis 137286 at *57. Moreover, the Henderson opinion cited to Kiel v.

Select Artificials, Inc., 169 F.3d 1131, 1136 (8th Cir. 1999) wherein the plaintiff requested an

accommodation under the ADA, one of many that had been granted before he was rude and

abusive towards his employer. Thus, there was evidence that indicated the employer was not

acting with a retaliatory animus given the repeated accommodation it had made. In this case,

Edwards made one complaint and was fired less than a week later. That evidence establishes

causation for purposes of the prima facie case.3

       B.      Tift Regional’s Reasons are Pretext for Retaliation

       A plaintiff may demonstrate pretext either directly, by showing that a discriminatory or

retaliatory reason more than likely motivated the employer, or indirectly, by showing that the

proffered reason for the decision is not worthy of belief. Young v. General Foods Corp., 840 F.2d

825, 828 (11th Cir. 1998). As to the latter method,

       [t]he districts court must, in view of all the evidence, determine whether the plaintiff
       has cast sufficient doubt on the defendant's proffered nondiscriminatory reasons to

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  To the extent the Court perceives a disconnect between Edwards complaining about Laub and
Fullum exacting the termination, the position and professional relationship of a biased person and
the supposed decision-maker within the company may raise an inference that the termination
decision was made for a retaliatory motive. Wright v. Southland Corp., 187 F.3d 1287, 1306, 1306
n.26 (11th Cir. 1999).



                                                   9
        Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 10 of 23




       permit a reasonable factfinder to conclude that the employer's proffered legitimate
       reasons were not what actually motivated its conduct. The district court must
       evaluate whether the plaintiff has demonstrated such weaknesses, implausibilities,
       inconsistencies, incoherencies, or contradictions in the employer's proffered
       legitimate reasons for its action that a reasonable factfinder could find them
       unworthy of credence.
Combs v. Plantation Patterns, 106 F.3d 1519, 1538 (11th Cir. 1997) (quotations and citations

omitted). Evidence of pretext bars summary judgment.

               1.      But For Causation

       As an initial matter, “but for” causation does not mean sole causation. Defendant relies on

U. of Tex. SW. Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2533 (2013), which only clarified that

retaliation claims could not be proven using a mixed-motive causation standard.               Instead,

retaliation claims “must be proved according to traditional principles of but-for causation.” Id.

Traditional principles of but-for causation do not require that the protected reason be the only

reason for the adverse action. See Evanston Ins. Co. v. Sandersville R.R. Co., 2016 U.S. Dist.

LEXIS 134162 at *29-30 (M.D. Ga. Sept. 29, 2016) (“But-for causation does not mean sole

causation, i.e., ‘standing alone’.”). “On the contrary, but-for causation broadly defines causation,

requiring only an act or omission without which the event would not have occurred.” Id. The

court explained further:

       [T]o use a common law school example, but for the ringing of the plaintiff's alarm
       clock, the plaintiff would not have awakened, and if she had not awakened, she
       would not have been driving through an intersection later in the morning where she
       was struck by the defendant's vehicle. Both the guard and the clock are but-
       for causes of injuries, but, thanks to Justice Cardozo, we know they are not the
       proximate cause of those injuries. The number of but-for causes of any particular
       event is limited only by the time available to conjure them up. While but-
       for causation analysis is important to determine actual cause, to suggest that but-
       for causation has somehow come to mean sole causation would turn the whole
       concept of causation on its head.

Id.; see also, McDowell v. Massey Auto, 2017 U.S. Dist. LEXIS 74373 (M.D. Ala. May 15, 2017)

(ruling that plaintiff did not have to prove age was sole motivating factor; rather, a but-for reason).

                                                  10
        Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 11 of 23




This Court has also addressed this issue. In Kingsley v. Tellworks Communs., 2017 U.S. Dist.

LEXIS 92619 (N.D. Ga. May 24, 2017), the defendant argued that the plaintiff could not prove

her retaliation claim because she testified that a non-retaliatory reason could have motivated the

employer meaning that she could not satisfy the but-for standard. Id. at *93-94. This Court

disagreed explaining that but-for causation did not equate to sole causation. Id. The Court

explained further that plaintiff's "beliefs" suggested that defendants may have had multiple reasons

for their actions, which, in and of itself, is not necessarily proof that none of these were "but for"

causes. Id. The Supreme Court recently clarified that “but for” is the appropriate standard of

causation in Title VII cases, but also clarified that there can be multiple “but for” causes and that

“the adoption of the traditional but-for causation standard means a defendant cannot avoid liability

just by citing some other factor that contributed to its challenged employment decision.” Bostock

v. Clayton County, 140 S. Ct. 1731, 1739 (2020). That is exactly what Tift Regional is trying to

do.

       Tift Regional contends that Edwards’ performance during his two weeks of probationary

employment was so bad that it needed to fire him. This rationale does not pass the smell test, as

shown below. Thus,

               the trier of fact can reasonably infer from the falsity of the
               explanation that the employer is dissembling to cover up a
               discriminatory purpose. Such an inference is consistent with the
               general principle of evidence law that the factfinder is entitled to
               consider a party's dishonesty about a material fact as “affirmative
               evidence of guilt.”
Reeves v. Sanderson Plumbing Products, Inc., 120 S. Ct. 2097, 2108 (2000). Accord, Smith v.

Lockheed-Martin Corp., 644 F.3d 1321, 1344-45 (11th Cir. 2011) (discriminatory intent inferred

where employer’s claimed reliance on rank as termination criteria was contradicted by its




                                                 11
          Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 12 of 23




treatment of other employees under similar circumstances, even though those employees were not

comparators).

                 2.      Evidence of Pretext

          First, the very close temporal proximity of less than five days between Edwards’ protected

activity and his termination provides very compelling evidence of pretext. 4 Trice v. Infinity

Staffing Solutions, LLC, 2017 U.S. Dist. LEXIS 130115 at 36 (N.D. Ga. 2017).

          Tift Regional’s ever-changing justifications for Edwards’ termination are also evidence of

pretext. Cleveland v. Home Shopping Network, Inc., 369 F.3d 1189, 1195 (11th Cir. 2004) (the

shifting reasons given by the employer allowed the jury to find its explanation unworthy of

credence, and consequently to infer the real reason was [plaintiff’s protected trait]); Pagan-Colon

v. Walgreens of San Patricio, Inc., 697 F.3d 1, 10 (1st Cir. 2012) (employer’s “shifting

explanations … support the jury’s verdict” for plaintiff). At first, Fullum told Edwards when he

pressed her that he did not have a “good work ethic.” (Edwards Dep., p. 52). Then, within days

of that conversation, Fullum switched tactics claiming that Edwards was “very vocal” and “back

talked.” (Thurston Dep., pp. 190-191, Ex. 4). Then, she alleged that he did not receive advice

very well but admitted that she never actually saw that with her own eyes. (Thurston Dep., pp. 64-

66, Ex. 4). Those are just the difference in the reasons given by Fullum verbally. The differences

on paper are even more stark.




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    "The evidence of pretext may include the same evidence offered initially to establish the prima
facie case." Wilson v. B/E Aerospace, Inc., 376 F.3d 1079, 1088 (11th Cir. 2004); see Ogwo v.
Miami Dade Cty. Sch. Bd., No. 15-11190, 702 Fed. Appx. 809, 2017 U.S. App. LEXIS 12344,
2017 WL 2954567, at *1 (11th Cir. July 11, 2017) ("In showing pretext, the plaintiff may rely on
the same evidence he relied on in establishing his prima facie case.").


                                                  12
        Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 13 of 23




       In fact, Defendant has produced two different termination documents that were both

generated by Fullum. (Fullum Dep., Exs. 11, 12). Fullum had no explanation for the difference.

(Fullum Dep., pp. 83-84). On the unsigned version, the “Description of the Current Deficiency”

was “team member was a No Call No Show for two consecutive scheduled shifts. They were

2/14/2019 and 02/15/2019.” (Fullum Dep., Ex.11). But, according to the Tift Regional timecard,

Edwards was at work on both February 14th and 15th. (Fullum Dep., Ex. 10). Thus, one of the

documents is a lie. Wholly apart from the mere fact of Defendant’s shifting justifications, that

Fullum at first generated a written termination paper based on an objectively false claim is strong

evidence of pretext.

       The other termination document generated by Fullum claimed that “Brian is being

terminated for his continued attendance issues and his no call/no show (NC/NS) shift that occurred

on 2/27/2019.” (Fullum Dep., Ex. 12). Thus, according to the termination document actually

presented to Edwards, the reason for termination was limited to the attendance issues, not Fullum’s

oral explanation to Human Resources that Edwards was being vocal or failing to follow

instructions.5 A reasonable jury could infer from these differences in justifications that they are

unworthy of belief.

       In both termination documents, Fullum included the improvement measures she

supposedly conducted to help Edwards improve his alleged shortcomings. But, Edwards denies

Fullum ever speaking with him about any performance issue other than the no call/no show on

February 27. (Edwards Dep., pp. 32-36). Thus, there is a jury issue regarding whether Fullum



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  Fullum did include references to those alleged shortcomings in the “History of Previous
Improvement Measures” section of the termination documents. (Fullum Dep., Ex. 12). However,
Edwards disputes that she ever raised these issues with him. (Edwards Dep., pp. 32-36). More
importantly, they are not included in the section of the termination document clearly delineated as
“Description of Current Deficiency” wherein she only included attendance issues.
                                                13
        Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 14 of 23




actually counseled Edwards as Fullum claims or whether Fullum is lying about this to cause

Edwards’s retaliatory termination. Moreover, the documents were created on February 27, 2019,

two days after Edwards complained about Laub’s racist comments and after or on the same day

Thurston notified Fullum of such complaint.6 (Fullum Dep., Exs. 11, 12). In other words, a jury

could reasonably infer from the evidence presented by Edwards that it was not until Fullum learned

of Edwards’ complaint that she counseled him on any performance issue.

       Additionally, Tift Regional had a progressive discipline policy, which it ignored to fire

Edwards. (Thurston Dep., p. 18, Ex. 2). Viewing the evidence in the light most favorable to

Edwards, Tift Regional skipped all of the steps of that policy to terminate Edwards on February

27, 2019, just two days after he complained about racist comments. Choosing to ignore the

progressive discipline policy when it came to Edwards is further evidence of pretext. See Vessels

v. Atlanta Indep. Sch. Sys., 408 F.3d 763, 771-772 (11th Cir. 2005) (an employer’s deviation from

its own procedures is evidence of pretext). Even within Fullum’s understanding of Tift Regional

policy, she did not follow those for Edwards. When Edwards was employed, Fullum allowed for

three consecutive absences before she issued a write up to an employee. (Fullum Dep., pp. 50-53).

Fullum did not even discipline employees for being tardy until after Edwards was fired, and when

she did it was only after an employee was tardy seven times. (Fullum Dep., pp. 50-53). Edwards

was tardy seven times in two weeks by a few minutes each time and was never absent. (Fullum

Dep., pp. 70-74, Exs. 10, 22).    Thus, based on how Fullum doled out punishment regarding

attendance at the time Edwards was hired, she did not even adhere to that standard when she

terminated Edwards.



6
 The date of both documents is 2/27/2019 and Fullum wrote in the last sentence on page 2 of both
documents “I am wanting to not continue his employment in my department as of today
2/27/2019.” (Fullum Dep., Exs. 11, 12).
                                               14
        Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 15 of 23




       Edwards’ third piece of pretext evidence are the white employees or employees who had

not complained of race discrimination that were not terminated for attendance issues. 7 A typical

means of establishing pretext is through comparator evidence. Silvera v. Orange County Sch. Bd.,

244 F.3d 1253, 1259 (11th Cir. 2001); Sparks v. Pilot Freight Carriers, Inc., 830 F.2d 1554, 1563

n.20 (11th Cir. 1987). A comparator is “a similarly-situated employee who committed the same

violation of work rules, but who was disciplined less severely than [the plaintiff].” Rioux v. City

of Atlanta, 520 F.3d 1269, 1276 (11th Cir. 2008). “[T]o determine whether employees are

similarly situated,” courts evaluate “whether the employees are involved in or accused of the same

or similar conduct and are disciplined in different ways.” Burke–Fowler v. Orange County, Fla.,

447 F.3d 1319, 1323 (11th Cir.2006) (quotation marks omitted). Fullum identified at least three

employees that she terminated after multiple instances of absences or no call/no shows, but only

after she had followed the progressive discipline policy in each of their cases. (Fullum Dep., pp.

37-43, 46-49). As for employees that she did not terminate for chronic attendance issues, the

number was even larger. (Fullum Dep., pp. 46-57). In fact, Fullum admitted that the frequency

of employees being tardy was so high that they could not discipline them, otherwise “we wouldn’t

have a department.” (Fullum Dep., p. 109).

       Additionally, Steven Harper, Edwards’ white direct supervisor, was a repeat offender of

the same sorts of policies Edwards violated. From the time frame of 2015 through 2019, Tift

Regional issued the following discipline to Harper: probation for having a bad attitude; a written




7
  In response to RPDs served by Edwards, Tift Regional claimed it had not received any complaints
about Laub other than the one filed by Edwards. (See RPD Response No. 9, attached as Ex. A).
Additionally, Tift Regional stated it had no documents that related to any complaint with the EEOC
filed by an employee in Edwards’ supervisory chain. (See RPD Response No. 8, attached as Ex.
A). Thus, there are no comparators that filed a claim a race discrimination against Laub or any
other of Edwards’ supervisors as Edwards had done.
                                                15
        Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 16 of 23




warning for attendance; a verbal warning for repeated and excessive tardiness; and a final warning

for having a negative attitude. (Harper Dep., Exs. 13, 14, 15, 16).          Harper has never been

terminated from Tift Regional. (Harper Dep., p. 6).

       Not only do the individual reasons provided by Tift Regional fail to constitute legitimate,

non-retaliatory reasons, the culmination of other facts purposely ignored by Tift Regional creates

a triable issue regarding the unlawful intent for firing Edwards. Smith v. Lockheed-Martin Corp.,

644 F.3d 1321, 1328 (11th Cir. 2011) (“the plaintiff will always survive summary judgment if he

presents circumstantial evidence that creates a triable issue concerning the employer’s

discriminatory [or retaliatory] intent.”). “A plaintiff may raise a reasonable inference of the

employer’s discriminatory [or retaliatory] intent through various forms of circumstantial

evidence,” and “[a] triable issue of fact exists if the record, viewed in a light most favorable to the

plaintiff, presents a convincing mosaic of circumstantial evidence that would allow a jury to infer

intentional discrimination [or retaliation] by the decisionmaker.” Id. (internal quotation and

citation omitted).   In this instance, the temporal proximity, failure to follow the progressive

discipline policy, and the presence of comparators who were not terminated could allow a

reasonable jury to conclude that Edwards was terminated for his opposition conduct.

       C.      Hostile Work Environment

       To establish a hostile work environment claim based on harassment by a supervisor, the

plaintiff must show (1) that he belongs to a protected group; (2) that he was subjected to

unwelcome racial harassment; (3) that the harassment was based on his gender; (4) that the

harassment was sufficiently severe or pervasive to alter the terms or conditions of his employment;

and (5) that the employer knew or should have known of the harassing conduct but failed to take

prompt remedial action. Smith, 652 F. Supp. 2d at 1323; Miller v. Kenworth of Dothan, Inc., 277



                                                  16
        Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 17 of 23




F.3d 1269, 1275, 1278 (11th Cir. 2002). Tift Regional has argued only that the last two prongs

were not met. Tift Regional also argues in very succinct fashion that it is entitled to the

Faragher/Ellerth defense. As Edwards will explain, both arguments are meritless as he has

presented evidence from which a jury could find the harassment severe or pervasive and the

defense does not apply under the facts presented.

              1.       Laub’s Harassment was Severe or Pervasive

       “Either severity or pervasiveness is sufficient to establish a violation of Title VII.” Reeves

v. C.H. Robinson Worldwide, Inc., 594 F.3d 798, 808 (11th Cir. 2010) (emphasis added). An

evaluation of such conduct should include its frequency; its severity; whether it was physically

threatening or humiliating, or a mere offensive utterance; and whether it unreasonably interfered

with an employee’s work performance.8 Id. The Eleventh Circuit Court of Appeals has held that

there is not a "'magic number' of racial or ethnic insults" that an employee must tolerate before

racial harassment rises to the level of severe or pervasive. Miller v. Kenworth of Dothan, Inc., 277

F.3d 1269, 1276 (11th Cir. 2002). Nevertheless, the courts engage in bean counting. The question

this case poses is whether two comments over a two-week period is pervasive. Most cases that

discuss the issue involve employees who worked with the employer months if not years. In this

case, because Edwards was terminated so quickly after his hiring and complaining about Laub’s

racist comments, he was not afforded the “opportunity” to endure more racist comments.

However, given his term of employment, he endured one racist comment a week. That is frequent

enough to be considered pervasive under the case law. See Moore v. Pool Corp., 304 F. Supp. 3d

1148, 1160 (N.D. Ala. 2018) (finding that plaintiff who was called a “nigger” five to seven times



8
 However, proof is not required on each factor individually, as the court employs a “totality of the
circumstances” approach. Smith v. Pefanis, 652 F. Supp. 2d 1308, 1327 (N.D. Ga. 2009)
(Forrester, J.).
                                                17
        Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 18 of 23




a year met the severe or pervasive standard); Johnson v. Booker T. Washington Broadcasting Serv.,

Inc., 234 F.3d 501, 506, 509 (11th Cir. 2000) (harassment was severe or pervasive when plaintiff

alleged fifteen incidents of unwelcome and harassing conduct over a four-month period).

              2.      Tift Regional is not Entitled to Faragher/Ellerth Defense

       A defending employer may raise an affirmative defense to liability or damages if it meets

its burden of showing that it (1) exercised reasonable care to prevent and correct promptly any

sexually harassing behavior; and (2) the employee unreasonably failed to take advantage of any

preventive or corrective opportunities the employer provided. Faragher v. City of Boca Raton,

524 U.S. 775, 807 (1998), and Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 765 (1998). The

Faragher/Ellerth defense is not available when an employer had knowledge of the harassment.

Because Tift Regional knew of Laub’s harassment, the defense is not available.

       There is evidence in the record that Tift Regional knew about Laub’s tendencies to make

racially charged comments to his subordinates. By the time Edwards arrived at Tift Regional in

February 2019, Thurston had fielded multiple complaints about Laub. (Thurston Dep., pp. 31-32,

34-37, 38-45). Those complaints ranged from Laub being a hard-nosed manager to Laub making

racist comments. (Thurston Dep., pp. 34-37). Shockingly, on one occasion in the summer of 2018,

fifteen black FANS employees came to Thurston’s office all at once to complain about Laub.

(Thurston Dep., pp. 38-45). She fielded their concerns in the conference room, and not in her

office, so she could accommodate that number of employees. (Thurston Dep., pp. 38-45). Some

of the complaints were about Laub’s racist comments and attitudes. (Thurston Dep., pp. 38-45).

Thurston then alerted her supervisor, Dr. Indera Rampal-Harrod, Vice President and Chief Human

Resources Officer, of the employees’ reports. (Folsom, p. 10; Thurston Dep., pp. 43-45). Rampal-

Harrod conducted an investigation and recommended remedial action be taken against Laub



                                               18
        Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 19 of 23




including removing him from the premises, none of which was done. (Thurston Dep., pp. 43-45).

Thurston estimated that by the time Edwards arrived at Tift Regional, she had fielded roughly ten

complaints about Laub from employees, only one of which was the fifteen-person conference room

discussion. (Thurston Dep., pp. 104-107). Folsom did not want to do anything because Laub was

a contractor/vendor and not an actual employee with Tift Regional.9 (Thurston Dep., p. 59). Thus,

there is sufficient evidence from which a jury could infer that Tift Regional had knowledge of

Laub’s harassing conduct before Edwards even arrived and failed to take corrective measures.

       Moreover, there is evidence in the record to establish that the harassment was open and

obvious thereby putting Tift Regional on notice. See Morgan v. Fellini’s Pizza, Inc., 64 F. Supp.

2d 1304, 1313-14 (N.D. Ga. 1999) (denying summary judgment to employer where evidence of

harassing comments made in open and obvious fashion in front of supervisors); Simon v.

Morehouse School of Medicine, 908 F. Supp. 959, 970 (N.D. Ga. 1995) (denying summary

judgment for employer because a reasonable finder of fact could conclude that the treatment of



9
 Tift Regional argues that because Laub was not an employee that it cannot be held liable for his
racial harassment of its employees. That suggestion is ridiculous. Section 1981, a claim asserted
by Edwards, dictates that an employer must protect its employees from the racial harassment they
endure from customers. See Moore v. Pool Corp., 304 F. Supp. 1148, 1160 (N.D. Ala. 2018)
(Section 1981 claim asserted by employee who suffered racial harassment at hands of customer
actionable). By logical extension, an employer can be liable for a vendor’s harassment of an
employee. Under Title VII, an employer is likewise liable to an employee harassed by a contractor
or vendor if it had knowledge of such harassment and failed to take remedial action. See 29 CFR
1604.11(e) (“An employer may also be responsible for the acts of non-employees with respect to
sexual harassment of employees in the workplace, where the employer … knows or should have
known of the conduct and fails to take immediate and appropriate corrective action.”) Tift
Regional’s own Employee Handbook prohibited harassment of employees by anyone when it
stated “Any type of harassing conduct in the workplace is prohibited. This includes management,
supervisors, co-workers, physicians, vendors, visitors, or patients.” (Thurston Dep., Ex. 3).
Additionally, Laub did have disciplinary power over Edwards as Fullum consulted with Laub
about employee performance throughout his term with Tift Regional. (Thurston Dep., pp. 178-
179; Fullum Dep., p. 36). Finally, if negligence was somehow the standard for holding Tift
Regional liable because Laub was a contractor, Edwards has certainly satisfied that standard given
the extent of Tift Regional’s knowledge as to his harassment.
                                               19
        Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 20 of 23




plaintiff was apparent to management or should have been based on evidence of frequent and non-

discrete sexual advances toward plaintiff); Mills v. Amoco Performance Prod., Inc., 872 F. Supp.

975, 987 (S.D. Ga. 1994) ("the conduct that occurred, if [plaintiff's] evidence is believed, consisted

of a continual pattern of offensive, sexually suggestive, and explicit acts the alleged conduct was

frequent and non-discrete; it would not easily go unnoticed by shift supervisors or others in

managerial positions who interacted with [plaintiff] and her coworkers on a regular basis. Drawing

all reasonable inferences from the summary judgment record in [plaintiff's] favor, as the Court

must, a jury could find that [plaintiff's] mistreatment was conspicuous and should have been

apparent to management."). Edwards testified Laub made the racist comments in front of his co-

workers. (Edwards Dep., pp. 47-48).

III.   CONCLUSION

       The Court should deny Defendant’s motion for summary judgment on the hostile work

environment and retaliation claims. The motion should be granted with regard to Plaintiff’s racial

termination claim as he voluntarily dismisses it.

       Respectfully submitted on this 16th day of August 2021.

                                               LEGARE, ATTWOOD & WOLFE, LLC

                                                      /s/ Eleanor M. Attwood
                                                      Eleanor M. Attwood
                                                      Georgia Bar No. 514014
Decatur Town Center Two
125 Clairemont Avenue
Suite 380
Decatur, GA 30030
470-823-4000 (Telephone)
470-201-1212 (Fax)
emattwood@law-llc.com




                                                 20
        Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 21 of 23




                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF GEORGIA
                                VALDOSTA DIVISION


BRIAN EDWARDS,                              )
                                            )
               Plaintiff,                   )
                                            )
v.                                          )        CASE NO. 7:20-CV-00003-WLS
                                            )
TIFT REGIONAL HEALTH                        )
SYSTEM, INC.,                               )
                                            )
               Defendant.                   )


                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I have filed the foregoing PLAINTIFF’S RESPONSE

TO DEFENDANT’S BRIEF IN SUPPORT FOR SUMMARY JDUGMENT with the Clerk of

Court using the CM/ECF system which will automatically send email notification of such filing to

the following attorneys of record:

       Alyssa K. Peters
       apeters@constangy.com


                                            LEGARE, ATTWOOD & WOLFE, LLC

                                                     /s/ Eleanor M. Attwood
                                                     Eleanor M. Attwood
                                                     Georgia Bar No. 514014




                                                21
Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 22 of 23




                              22
Case 7:20-cv-00003-WLS Document 67 Filed 08/16/21 Page 23 of 23




                              23
